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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                            CASE NO. 1:20-cr-183
v.
                                                            HON. ROBERT J. JONKER
KALEB JAMES FRANKS,

            Defendant.
________________________________/

                                            ORDER

         Before the Court is the government’s motion to adjourn sentencing currently set for June

8, 2022. ECF No. 637. The motion asks that sentencing be adjourned until such time as the retrial

of Defendant’s co-defendants takes place. Defendant does not object to the request. The motion

will be GRANTED. Sentencing is adjourned without date.



Dated:      May 11, 2022                     /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE
